425 F.3d 1248
    UNITED STATES of America, Plaintiff-Appellee,v.Frank FERNANDEZ, Defendant-Appellant.United States of America, Plaintiff-Appellee,v.Roy Gavaldon, aka Spider, Defendant-Appellant.United States of America, Plaintiff-Appellee,v.David Gonzales-Contreras, aka David Contreras-Gonzalez, Defendant-Appellant.United States of America, Plaintiff-Appellee,v.Dominick Shewmaker Gonzales, aka Solo, aka Dominick Gonzales, Defendant-Appellant.United States of America, Plaintiff-Appellee,v.Jimmy Sanchez, aka Seal D, aka Smokey, Defendant-Appellant.United States of America, Plaintiff-Appellee,v.Suzanne Schoenberg Sanchez, Defendant-Appellant.
    No. 01-50082.
    No. 01-50088.
    No. 01-50126.
    No. 01-50162.
    No. 01-50373.
    No. 01-50513.
    United States Court of Appeals, Ninth Circuit.
    October 19, 2005.
    
      Daniel Levin, Janet C. Hudson, Esq., and Fred A. Rowley, Jr., Esq., Miriam A. Krinsky, AUSA, Susan L. Barna, AUSA, Jack P. Dicanio, Esq., USLA-Office of the U.S. Attorney Criminal Division, Los Angeles, CA, for Plaintiff-Appellee.
      Kenneth M. Stern, Esq., Law Offices Kenneth M. Stern, Woodland Hills, CA, Darlene M. Ricker, Attorney at Law, Malibu, CA, Philip Deitch, Esq., Los Angeles, CA, Cara Devito, Esq., West Hills, CA, Karyn H. Bucur, Attorney at Law, Laguna Hills, CA, Verna J. Wefald, Esq., Pasadena, CA, for Defendant-Appellant.
      Before B. FLETCHER, CANBY, and RAWLINSON, Circuit Judges.
    
    ORDER
    
      1
      The following defendant-appellees have requested remands to the district court for it to consider modification of their sentences: Roy Gavaldon, David Gonzales-Contreras, and Dominick Shewmaker Gonzales.
    
    
      2
      Defendant-appellant Fernandez has responded that he does not want a remand for resentencing. His sentence stands affirmed.
    
    
      3
      The affirmance of Defendant-appellant Schoenberg Sanchez's sentence stands.
    
    
      4
      The reversal of Defendant-appellant Sanchez's sentence stands; the mandate has issued in his case.
    
    
      5
      In our opinion we vacated the sentences of David Gonzales-Contreras and Dominick Shewmaker Gonzales. We amend our opinion to this extent: We remand to the district court to consider whether to resentence, but do not vacate their sentences.
    
    
      6
      We remand Roy Gavaldon's sentence to the district court to consider whether to resentence.
    
    
      7
      The mandate shall issue forthwith on the opinion 388 F.3d 1199 (9th Cir.2004) as modified by this order.
    
    